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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

February 2018 Grand Jury

UNITED STATES OF AMERICA, No. CR 17-420(A)-SJO
Plaintiff,
| “FIRST
Vv. SUPERSEODING

ALEKSANDR SURIS and
MAXIM SVERDLOV, [18 U.S.C. § 1349: Conspiracy
to Commit Health Care Fraud;
18 U.S.C. § 1347: Health Care
Defendants. Fraud; 18 U.S.C. § 1956(h):
Conspiracy to Commit Money
Laundering; 18 U.S.C. § 2(b):
Causing an Act to be Done;

18 U.S.C. §8§ 981(a) (1) (C),
982(a) (1), 982(a) (7), and

28 U.S.C. § 2461 (c):

Criminal Forfeiture]

 

 

 

The Grand Jury charges:
COUNT ONE
[18 U.S.C. § 1349]
[Conspiracy to Commit Health Care Fraud]

A. INTRODUCTORY ALLEGATIONS

 

At all times relevant to this First Superseding Indictment:
1. Royal Care Pharmacy (“Royal Care”) was a pharmacy
located at 7300 W. Sunset Blvd., Suite L, Los Angeles,

California, within the Central District of California.

 

 
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2. Defendant ALEKSANDR SURIS (“SURIS”) was a co-owner and
co-operator of Royal Care.

3. Defendant MAXIM SVERDLOV (“SVERDLOV”) was a co-owner,
co-operator, and Chief Financial Officer of Royal Care.

4. Co-conspirator 3 (“CC-3”) was a pharmacist licensed by
the State of California. CC-3 was employed by Royal Care as the
Pharmacist-in-Charge from at least in or around March 2013,
through at least in or around July 2016.

5. A bank account for Royal Care Pharmacy ending in
numbers 7230 was opened at JPMorgan Chase Bank, N.A., in or
around June 2006 (“RCP CHASE 7230”). Defendants SURIS and
SVERDLOV were signatories on this bank account.

6. Co-conspirator 4 (“CC-4”) was an individual who owned
and controlled TriMed Medical Wholesalers, Inc. (“TriMed”), a
California corporation and drug wholesale business operating
within the Central District of California. CC-4 controlled and
was a Signatory on multiple TriMed business bank accounts with
branch locations within the Central District of California
including, but not limited to, a City National Bank account
ending in numbers 1925 (“TRIMED CNB 1925”).

B. THE MEDICARE HEALTH INSURANCE PROGRAM

7. Medicare was a federal health care benefit program,
affecting commerce, that provided benefits to individuals who
were 65 years and older or disabled. Medicare was administered
by the Centers for Medicare and Medicaid Services (“CMS”), a
federal agency under the United States Department of Health and

Human Services.

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8. Individuals who qualified for Medicare benefits were
referred to as Medicare “beneficiaries.” Each beneficiary was
given a unique health insurance claim number (“HICN”).

oe Medicare programs covering different types of benefits
were separated into different program “parts.” Part D of
Medicare (the “Medicare Part D Program”) subsidized the costs of
prescription drugs for Medicare beneficiaries in the United
States. The Medicare Part D Program was enacted as part of the
Medicare Prescription Drug, Improvement , and Modernization Act
of 2003 and went into effect on January 1, 2006. Under the
Medicare Part D program, providers such as Royal Care were paid
for prescription drugs they dispensed only if: (a) the drugs
were actually provided to the Medicare beneficiaries; (b) the
drugs were medically necessary; and (c) it was determined that
the provider was otherwise entitled to payment.

10. In order to receive Medicare Part D program benefits,
a beneficiary enrolled in a Medicare drug plan. Medicare drug
plans were operated by private companies approved by Medicare.
Those companies were often referred to as drug plan “sponsors.”
A beneficiary in a Medicare drug plan could fill a prescription
at a pharmacy and use his or her plan to pay for some or all of
the prescription.

11. A pharmacy could participate in the Medicare Part D
program by entering into a retail network agreement directly
with a plan; with one or more Pharmacy Benefit Managers
(“PBMs”); or with a Pharmacy Services Administration
Organization (“PSAO”), which would, in turn, contract with PBMs

on behalf of the pharmacy. A PBM acted on behalf of one or more
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drug plans. Through a plan’s PBM, a pharmacy could join the
plan’s network. When a Medicare Part D program beneficiary
presented a prescription to a pharmacy, the pharmacy submitted a
claim either directly to the plan or to a PBM that represented
the beneficiary’s Medicare drug plan. The plan or PBM
determined whether the pharmacy was entitled to payment for each
claim and periodically paid the pharmacy for outstanding claims.
The drug plan’s sponsor reimbursed the PBM for its payments to
the pharmacy.

12. A pharmacy could also submit claims to a Medicare drug
plan to whose network the pharmacy did not belong. Submission
of such out-of-network claims was not common and often resulted
in smaller payments to the pharmacy by the drug plan sponsor.

13. Medicare, through CMS, compensated Medicare drug plan
sponsors. Medicare paid the sponsors a monthly fee for each
Medicare beneficiary of the sponsors’ plans. Such payments were
called capitation fees. The capitation fee was adjusted
periodically based on various factors, including the
beneficiary’s medical conditions. In addition, in some cases
where a sponsor’s expenses for a beneficiary’s prescription
drugs exceeded that beneficiary’s capitation fee, Medicare
reimbursed the sponsor for a portion of those additional
expenses.

14. Medicare and Medicare drug plans (collectively,
hereafter, “Medicare”) were health care benefit programs, as

defined by Title 18, United States Code, Section 24(b).

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C. THE OBJECT OF THE CONSPIRACY

 

15. Beginning no later than in or around March 2012, and
continuing through at least in or around March 2015, in Los
Angeles County, within the Central District of Calttornta, and
elsewhere, defendants SURIS and SVERDLOV, together with co-
conspirator CC-3 and others known and unknown to the Grand Jury,
knowingly combined, conspired, and agreed to commit health care
fraud, in violation of Title 18, United States Code, Section
1347. |
D. THE MANNER AND MEANS OF THE CONSPIRACY

16. The object of the conspiracy was carried out, and to
be carried out, in substance, as follows:

a. Defendants SURIS and SVERDLOV, as well as CC-3,
received information about Medicare Part D program
beneficiaries, and certain of their prescription drugs, from
various sources including, in some instances, from an operator
of another health care facility.

b. Defendants SURIS and SVERDLOV, together with
cc-3 and others known and unknown to the Grand Jury, knowingly
and willfully submitted, and caused the submission of, false and
fraudulent claims to Medicare on behalf of Royal Care based on
false and fraudulent representations, with respect to certain
prescriptions, that the prescriptions had been filled, the
prescribed medications had been provided to the Medicare
beneficiaries, and the prescribed medications were medically
necessary.

Ci. In truth and in fact, as defendants SURIS and

SVERDLOV and CC-3 then knew, these prescriptions had not been
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filled and the prescribed medications had not been provided to
the Medicare Part D program beneficiaries, and, on certain
occasions, the prescribed medications were not medically
necessary.

a. To facilitate the scheme to fraudulently bill
Medicare for certain prescription drugs that were never actually
filled or provided to beneficiaries, and which were, on certain
occasions, not medically necessary, defendants SURIS and
SVERDLOV purchased sham/fictitious TriMed invoices (the
“Fictitious invoices”) from CC-4. The fictitious invoices
purported to list various prescription drugs that Royal Care had
purchased from drug wholesaler TriMed, and that TriMed had
provided to Royal Care. However, pursuant to an agreement
between SURIS, SVERDLOV, and CC-4, CC-4 never actually provided
SURIS, SVERDLOV, or Royal Care with the prescription drugs
listed on the fictitious invoices, and instead provided SURIS,
SVERDLOV, and Royal Care with only the fictitious invoice
documents.

e. The fictitious invoices that SURIS and SVERDLOV
purchased from CC-4 served multiple purposes, including the
following:

a The fictitious invoices erroneously inflated
the volume of prescription drug inventory, at least on paper,
that Royal Care ostensibly had available to fill prescription
drug orders. In reality, because Royal Care never actually
received the drugs listed on the fictitious invoices, the
pharmacy did not have the quantities/types of prescription drugs

listed in the fictitious invoices available to fill patient
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prescriptions.

b Bt Defendants SURIS and SVERDLOV, together with
cc-4, further agreed to use, and did use, the fictitious
invoices as a vehicle to return cash to SURIS and SVERDLOV.
Specifically, SURIS and SVERDLOV paid CC-4’s drug wholesale
company, TriMed, for fictitious invoices. CC-4 and others known
and unknown to the Grand Jury then engaged in a series of
financial transactions with these funds that culminated in CC-4
returning a portion of the fictitious invoice payments to SURIS
and SVERDLOV in cash.

f. As a result of the false and fraudulent claims
submitted and caused to be submitted to Medicare by defendants
SURIS and SVERDLOV, together with CC-3, Medicare fund payments
were deposited into bank account RCP CHASE 7230. belonging to
Royal Care.

g. Between in or around March 2012, through in or
around March 2015, Royal Care was paid approximately $41,515,503
based on claims for dispensing drugs to Medicare Part D program
beneficiaries.
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COUNTS TWO THROUGH FIVE
[18 U.S.C. §§ 1347, 2(b)]
[Health Care Fraud]
17. The Grand Jury incorporates by reference and
re-alleges paragraphs 1 through 14 above as though set forth in
their entirety here.

A. THE FRAUDULENT SCHEME

 

18. Beginning in or around March 2012, and continuing
through at least in or around March 2015, in Los Angeles County,
within the Central District of California, and elsewhere,
defendants SURIS and SVERDLOV, together with co-conspirator
Cc-3 and others known and unknown to the Grand Jury, knowingly,
willfully, and with intent to defraud, executed, and attempted
to execute, a scheme and artifice: (a) to defraud a health care
benefit program, namely, Medicare, as to material matters in
connection with the delivery of and payment for health care
benefits, items, and services; and (b) to obtain money from
Medicare by means of materially false and fraudulent pretenses
and representations and the concealment of material facts in
connection with the delivery of and payment for health care
benefits, items, and services.

B. MEANS TO ACCOMPLISH THE FRAUDULENT SCHEME

19. The fraudulent scheme operated, in substance, as
described in paragraph 16 of this First Superseding Indictment,
which is hereby incorporated by reference as if stated in its
entirety here.

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elsewhere,

fraudulent scheme described above,

Cx EXECUTIONS OF THE FRAUDULENT SCHEME
On or about the dates set forth below,

within the Central District of California,

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in Los Angeles
and
defendants SURIS and SVERDLOV, together with co-
conspirator CC-3 and others known and unknown to the Grand Jury,
for the purpose of executing and attempting to execute the
knowingly and willfully
submitted and caused to be submitted to Medicare for payment the
following false and fraudulent claims seeking the following
dollar amounts, which claims falsely represented that Royal Care
provided the pharmaceutical items as listed to Medicare Part D

program beneficiaries and that the items were medically

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| necessary:
COUNT MEDICARE CLAIM APPROX. ITEM CLAIMED;
BENEFICIARY NUMBER DATE APPROX. AMOUNT
— SUBMITTED OF CLAIM
Lidoderm;
TWO A.L 150643880160 3/05/2015
$523.68
014999
Abilify;
THREE A.L 150643853752 3/05/2015
$897.71
021999 :
Seroquel;
FOUR A.L 150643851741 3/05/2015
$459.52
069999
Pennsaid;
FIVE G.N. 150844529127 3/25/2015
$1,408.47
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COUNT SIX
[18 U.S.C. § 1349]
[Conspiracy to Commit Health Care Fraud]
21. The Grand Jury incorporates by reference and
re-alleges paragraphs 1 through 6 above as though set forth in
their entirety here.

A. THE CIGNA HEALTH INSURANCE PROGRAM

 

At all times relevant to this First Superseding Indictment:

22. .CIGNA was a private health insurance provider that
operated private plans, affecting commerce, under which medical
benefits, items, and services, including prescription drugs,
were provided to individuals in exchange for payment. CIGNA
reimbursed medical providers (“providers”) such as Royal Care
that provided covered prescription drugs to patients covered by

CIGNA’s insurance plans (“subscribers”).

 

 

23. Providers like Royal Care were required to submit
claim forms to CIGNA and/or assigned representatives of CIGNA in
order to receive reimbursement from CIGNA for items they
provided to subscribers. Among other information, providers
were required to state on the claim forms the patient’s name and
health insurance member number, the item or service that was
rendered, the date that the item or service was rendered, the .
charge for the item or service, and the provider’s name and/or
the provider’s identification number. Medical providers could
submit claim forms electronically.

24. CIGNA was a health care benefit program as defined by

Title 18, United States Code, Section 24(b).

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B.. THE OBJECT OF THE CONSPIRACY

 

25. Beginning no later than in or around December 2012,
and continuing through at least in or around January 2015, in
Los Angeles County, within the Central District of California,
and elsewhere, defendant SURIS, together with ce-couauizator
Cc-3 and others known and unknown to the Grand Jury, knowingly
combined, conspired, and agreed to commit health care fraud, in
violation of Title 18, United States Code, Section 1347.

e. THE MANNER AND MEANS OF THE CONSPIRACY

26. The object of the conspiracy was carried out, and to
be carried out, in substance, as follows:

a. CC-3 was covered by a CIGNA health insurance
plan. CC-3 sought and obtained prescriptions for various drugs
| exom his/her primary care physician. On many occasions, CC-3
knew that he/she would not utilize all of the drugs that were
prescribed to him/her.

b. CC-3 sold certain of his/her prescriptions for
various drugs to defendant SURIS. Defendant SURIS paid cash to
CC-3 in exchange for these peedortpetens.

a. Defendant SURIS, together with CC-3 and others
known and unknown to the Grand Jury, knowingly and willfully
submitted, and caused the submission of, false and fraudulent
claims to CIGNA and/or CIGNA’s representatives on behalf of
Royal Care based on the false and fraudulent representation,
with respect to certain of these prescriptions, that the

prescriptions had been filled and the prescribed medications had

been provided to CC-3.

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d. In truth and in fact, as defendant SURIS and CC-3
then knew, certain of these prescriptions for CC-3 had not been
filled, and the prescribed medications were not provided to
CC-3.

e. To facilitate the scheme to fraudulently bill

 

CIGNA for certain prescription drugs that were never actually
filled or provided to CC-3, defendant SURIS and others known and
unknown to the Grand Jury purchased sham/fictitious TriMed
invoices from CC-4. The fictitious invoices purported to list
various prescription drugs that Royal Care had purchased from
drug wholesaler TriMed, and that TriMed had provided to Royal
Care. However, pursuant to an agreement between SURIS, CC-4,
and others known and unknown to the Grand Jury, CC-4 never
actually provided the prescription drugs listed on the
fictitious invoices, and instead provided SURIS, Royal Care, and
others known and unknown to the Grand Jury with only the
fictitious invoice documents.

£. The fictitious invoices that SURIS and others
known and unknown to the Grand Jury purchased from CC-4 served
multiple purposes, including the following:

i. The fictitious invoices erroneously inflated
the volume of prescription drug inventory, at least on paper,
that Royal Care ostensibly had available to fill prescription
drug orders. In reality, because Royal Care never actually
received the drugs listed on the fictitious invoices, the
pharmacy did not have the quantities/types of prescription drugs
listed in the fictitious invoices available to fill patient

prescriptions.
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ii. Defendant SURIS, CC-4, and others known and
unknown to the Grand Jury further agreed to use, and did use,
the fictitious invoices as a vehicle to return cash to SURIS and
others known and unknown to the Grand Jury. Specifically, SURIS
and others known and unknown to the Grand Jury paid CC-4’s drug
wholesale company, TriMed, for fictitious invoices. CC-4 and
others known and unknown to the Grand Jury then engaged in a
series of financial transactions with these funds that

culminated in CC-4 returning a portion of the fictitious invoice

 

 

 

payments to SURIS and others known and unknown to the Grand Jury
in cash.

g. As a result of the false and fraudulent claims
defendant SURIS and CC-3 submitted and caused to be submitted to
CIGNA, CIGNA and/or its assigned representatives deposited
payments into bank account RCP CHASE 7230 belonging to Royal
Care.

h. Between in or around December 2012, through in or
around January 2015, Royal Care was paid approximately $17,212

based on claims for dispensing drugs to CIGNA subscribers.

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COUNTS SEVEN THROUGH TWELVE
[18 U.S.C. §§ 1347, 2(b)]
[Health Care Fraud]
27. The Grand Jury incorporates by reference and
re-alleges paragraphs 1 through 6 and 22 through 24 above as
though set forth in their entirety here.

A. THE FRAUDULENT SCHEME

 

28. Beginning in or around December 2012, and continuing
through at least in or around January 2015, in Los Angeles
County, within the Central District of California, and
elsewhere, defendant SURIS and co-conspirator CC-3, together
with others known and unknown to the Grand Jury, knowingly,
willfully, and with intent to defraud, executed, and attempted
to execute, a acheme and artifice: (a) to defraud a health care

benefit program, namely, CIGNA, as to material matters in

 

connection with the delivery of and payment for health care
benefits, items, and services; and (b) to obtain money from
CIGNA by means of materially false and fraudulent pretenses and
representations and the concealment of material facts in
connection with the delivery of and payment for health care
benefits, items, and services.
B. MEANS TO ACCOMPLISH THE FRAUDULENT SCHEME

29. The fraudulent scheme operated, in substance, as
described in paragraph 26 of this First Superseding Indictment,
which is hereby incorporated by reference as if stated in its

entirety here.

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Cx EXECUTIONS OF THE FRAUDULENT SCHEME

30. On or about the dates set forth below, within the
Central District of California, and elsewhere, defendant SURIS
and co-conspirator CC-3, together with others known and unknown
to the Grand Jury, for the purpose of executing and attempting
to execute the fraudulent scheme described above, knowingly and
willfully submitted and caused to be submitted to CIGNA for
payment the following false and fraudulent claims seeking the
following dollar amounts, which claims falsely represented that

Royal Care provided the pharmaceutical items as listed to CIGNA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

subscribers:

COUNT CIGNA APPROXIMATE ITEM CLAIMED;
SUBSCRIBER DATE ae REO: AMOUNT
ee SUBMITTED OF CLAIM

Solaraze;

SEVEN cc-3 11/06/2014

$1,440.14
Solaraze;
EIGHT CC-3 12/01/2014
$1,440.14
Vimovo;
NINE cc-3 11/06/2014
$988.79
* Vimovo;
TEN CC-3 12/01/2014
$988.79
Xolegel;
ELEVEN CC-3 12/01/2014
$413.08
Lidoderm;
TWELVE CC-3 12/03/2014 ‘
$482.78
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COUNT THIRTEEN
[18 U.S.C. § 1956(h)]
[Conspiracy to Commit Money Laundering]
31. The Grand Jury incorporates by reference and
re-alleges paragraphs 1 through 14, 16, 19-20, 22-24, 26, and
29-30 above as though set forth in their entirety here.

A. THE OBJECT OF THE CONSPIRACY

 

32. Beginning at least in or around March 2012, and
continuing through at least in or around March 2015, in Los
Angeles County, within the Central District of California, and
elsewhere, defendants SURIS and SVERDLOV, together with each
other, co-conspirator CC-4, and others known and unknown to the
Grand Jury, conspired and agreed with one another to knowingly
and intentionally commit the following offense against the
United States: Knowing that property involved in financial
transactions affecting interstate and foreign commerce
represented the proceeds of some form of unlawful activity, and
which property was, in fact, the proceeds of a specified
unlawful activity, namely, conspiracy to commit health care
fraud, in violation of Title 18, United States Code, Section
1349, and health care fraud, in violation of Title 18, United
States Code, Section 1347, conducting, attempting to conduct,
and willfully causing others to conduct and attempt to conduct
financial transactions affecting interstate commerce, knowing
that the transactions were designed in whole and in part to
conceal and disguise the nature, location, source, ownership,
and control of the proceeds of such specified unlawful activity,

in violation of Title 18, United States Code, Section
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1956 (a) (1) (B) (i).
B. THE MANNER AND MEANS OF THE CONSPIRACY
33. The object of the conspiracy was carried out, and to

be carried out, in substance, as follows:

 

 

 

a. As described in paragraphs 16 and 26 of this
First Superseding Indictment, which are hereby incorporated by
reference as if stated in their entirety here.

b. Between at least in or around March 2012 through
at least in or around March 2015, SURIS and SVERDLOV would sign
and provide CC-4 and others known and unknown to the Grand Jury
with numerous Royal Care checks payable to TriMed in exchange
for fictitious invoices that TriMed had provided to Royal Care.
The Royal Care checks used to pay for these fictitious invoices
would be drawn on RCP CHASE 7230, made payable to TriMed, and.
variously signed by SURIS and SVERDLOV.

c. The Royal Care check payments to TriMed during
this period would specifically pay for fictitious invoices
(dated between March 2012 and March 2015) which indicated that
Royal Care had purchased prescription drugs from TriMed, totaling
at least approximately $17,548,765.57.

d. CC-4 would cause these RCP CHASE 7230 checks to
be deposited into bank accounts including, but not limited to,
TRIMED CNB 1925; CC-4 would, in furtherance of returning cash to
SURIS and SVERDLOV:

i. withdraw cash from TriMed bank accounts; and
li. cause checks from TriMed bank accounts to be
issued to and deposited into multiple other bank accounts

controlled by others known and unknown to the Grand Jury and
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held in the names of corporations that often did not in fact
conduct any legitimate business and did not conduct actual
business with CC-4 or TriMed (“the shell accounts”). A portion
of the funds associated with these TriMed checks would then be
withdrawn in cash (often in cash amounts under $10,000), from
either these shell accounts or from subsequent downstream shell
accounts, by others known and unknown to the Grand Jury, and
returned to CC-4,
e. cc-4 would return this cash to SURIS and
SVERDLOV. The amount of cash returned to SURIS and SVERDLOV by
CC-4 would be negotiated between SURIS, SVERDLOV, and CC-4, sued
was often between approximately 52% and 62% of the funds that
SURIS and SVERDLOV originally provided to CC-4 to pay for
fictitious invoices.
£; SURIS, SVERDLOV, CC-4, and others known and

unknown to the Grand Jury would effect these financial
transactions in order to conceal and disguise the fraud and
fraud proceeds associated with the pharmacy business at Royal
Care.

All in violation of Title 18, United States Code, Section
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FORFEITURE ALLEGATION ONE

 

[18 U.S.C. §§ 981(a) (1) (C) and 982(a) (7); 28 U.S.C. § 2461(c)]

34. Pursuant to Rule 32.2(a) Fed. R. Crim. P., notice is
hereby given to defendants ALEKSANDR SURIS and MAXIM SVERDLOV
(collectively, the “defendants”) that the United States will
seek forfeiture as part of any sentence in accordance with Title
18, United States Code, Sections 981 (a) (1) (C) and 982(a) (7), and
Title 28, United States Code, Section 2461(c), in the event of
any defendant’s conviction under any of the Counts One through
Twelve of this First Superseding Indictment.

35. Defendants shall forfeit to the United States the
following property:

a. All right, title, and interest in any and all
property, real or personal, that constitutes or is derived,
directly or indirectly, from the gross proceeds traceable to the
commission of any offense set forth in any of Counts One through
Twelve of this First Superseding Indictment; and/or

b. A sum of money equal to the total value of the
property described in subparagraph a. For each of Counts One
through Twelve for which more than one defendant is found
guilty, each such defendant shall be jointly and severally
liable for the entire amount forfeited pursuant to that Count.

36. Pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 28, United States Code, Section
2461(c), and Title 18, United States Code, Section 982(b), each
defendant shall forfeit substitute property, up to the total
value of the property described in the preceding paragraph if,

as a result of any act or omission of a defendant, the property
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described in the preceding paragraph, or any portion thereof:
(a) cannot be located upon the exercise of due diligence;

(b) has been transferred, sold to, or deposited with a third
party; (c) has been placed beyond the jurisdiction of the Court;
(a) has been substantially diminished in value; or (e) has been

commingled with other property that cannot be divided without

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FORFEITURE ALLEGATION TWO

 

[18 U.S.C. §8§ 982(a) (1); 28 U.S.C. § 2461(c)]

37. Pursuant to Rule 32.2(a) Fed. R. Crim. P., notice is
hereby given to defendants ALEKSANDR SURIS and MAXIM SVERDLOV
that the United States will seek forfeiture as part of any
sentence in accordance with Title 18, United States Code,
Sections 982(a) (1), in the event of any defendant’s conviction
under Count Thirteen of this First Superseding Indictment.

38. Defendants shall forfeit to the United States the
following property:

a. All right, title, and interest in any and all
property, real or personal, involved in such offense, or any
property traceable to such property; and/or

b. A sum of money equal to the total value of the
property described in subparagraph a. In the event that more
than one defendant is found guilty of Count Thirteen, each such
defendant shall be jointly and severally liable for the entire
amount forfeited pursuant to that Count. |

39, Pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 28, United States Code, Section
2461(c), and Title 18, United States Code, Section 982(b), each
defendant shall forfeit substitute property, up to the total
value of the property described in the preceding paragraph if,
as a result of any act or omission of a defendant, the property
described in the preceding paragraph, or any portion thereof:
(a) cannot be located upon the exercise of due diligence;

(b) has been transferred, sold to, or deposited with a third

party; (c) has been placed beyond the jurisdiction of the Court;
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(d) has been substantially diminished in value; or (e) has been
commingled with other property that cannot be divided without

difficulty.

A TRUE BILL

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Foreperson

NICOLA T. HANNA
United States Attorney

LAWRENCE S. MIDDLETON

Assistant United States Attorney
Chief, Criminal Division .

RANEE A. KATZENSTEIN
Assistant United States Attorney
Chief, Major Frauds Section

SANDRA MOSER
Acting Chief, Fraud Section
United States Department of Justice

JOSEPH S. BEEMSTERBOER
Deputy Chief, Fraud Section
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ROBYN N. PULLIO

Trial Attorney, Fraud Section
United States Department of Justice

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